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                          IN THE UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

In re:                                                    §
Mr. Aelina Roman                                          § CASE NO.: 22-33528-H4-13
                       Debtor(s)                          § Chapter: 13


                           ORDER FOR EFT PAYMENTS (ONLINE BANKING)
                                AND DEBTOR(S)’ CERTIFICATION

           The Debtor(s) have enrolled in the Chapter 13 Trustee’s electronic funds transfer program
(the “EFT Program”). The Debtor(s) have submitted a certification of eligibility to enroll in the EFT (online
banking) Program. The Debtor(s) understand that chapter 13 plan payments must be made by EFT (online
banking) to the Chapter 13 Trustee.

           The trustee’s bank account information and instructions for initiating the transfer are available
from the trustee. The Debtor(s) are responsible for initiating the payment each month and the Debtor(s)’
bankruptcy case number must accompany each payment. If the Chapter 13 Trustee or a party in interest files a
motion to dismiss this case for non-payment, the Debtor(s) must provide documents from the Debtor(s)’ bank
demonstrating that any disputed payment was sent.

            The Debtor(s) are ordered to pay    $650.00      each month to the Chapter 13 Trustee
by EFT (online banking). This amount must be increased or decreased by the Debtor(s) without further order to
reflect the amounts due under any (i) amended proposed plan; (ii) proposed modification of a plan; or (iii) Notice
of Plan Payment Adjustment, except to the extent stayed by Court order.

           The Debtor(s) may not terminate the EFT (online banking) except as further ordered by the Court.

          Signed the                  day of                     , 20



                                                       U.S. Bankruptcy Judge

                              DEBTOR’S CERTIFICATION OF ELIGIBILITY

          The Debtor(s) certify that the Debtor(s) are self-employed or do not receive wage or salary income
in an amount equal to or greater than the Debtor(s)’ monthly plan payment.

Date:   11/30/2022
                                                          (s) Aelina Roman
                                                          Debtor


                                                          Debtor (if joint)
